     Case 2:10-cr-00477-MCE Document 159 Filed 08/06/12 Page 1 of 3


 1   LISA B. MEIER, SBN 218979
     809 Montgomery Street, 2nd Floor
 2   San Francisco CA 94133
     Telephone: 415/394-3800
 3   Facsimile: 415/394-3806
 4   Attorney for Defendant
     NICHOLAS ROMAN
 5
 6                                UNITED STATES DISTRICT COURT
 7                               EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                                Case No. 2:10CR0477 LKK
10
                    Plaintiff,
11
12          v.                                                STIPULATION AND ORDER
                                                              TO CONTINUE STATUS
13                                                            CONFERENCE TO AUGUST 28, 2012
     LONNIE PATRICK TERRELL, ANTHONY
14   MONTANO, ALEX LINDBERG, JEREMY                           Date: August 7, 2012
     TERRELL, NICHOLAS ROMAN, and RUTH                        Time: 9:15 a.m.
15   JIMENEZ                                                  Judge: Hon. Lawrence K. Karlton

16               Defendant.
     _____________________________________/
17
18          IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States of
19   America, and defendants, LONNIE TERRELL, ANTHONY MONTANO, ALEX LINDBERG,
20   JEREMY TERRELL, NICHOLAS ROMAN, and RUTH JIMENEZ, through their respective
21   attorneys, that the Court should vacate the status conference scheduled for August 7, 2012, at
22   9:15 a.m., and reset it for August 28, 2012, at 9:15 a.m.
23
             A plea agreement has been provided by the government to defendants through their
24
     respective attorneys. Counsel for defendants would like additional time to review the
25
     provisions of the plea agreement with the defendants, including review of the factual bases with
26
     the discovery to ensure that the plea is in the best interest of defendants and consistent with the
27
     discovery provided by the government. The parties expect that any resulting issues or concerns
28
     will be resolved before August 28, 2012.


                                                      1
     Case 2:10-cr-00477-MCE Document 159 Filed 08/06/12 Page 2 of 3


 1          It is further stipulated by the parties that the Court should exclude the period from the
 2   date of this order through August 28, 2012, when it computes the time within which the trial of
 3   the above criminal prosecution must commence for purposes of the Speedy Trial Act. The
 4   parties stipulate that the ends of justice served by granting defendants’ request for a
 5   continuance outweigh the best interest of the public and the defendants’ in a speedy trial, and
 6   that this is an appropriate exclusion of time for defense preparation within the meaning of 18
 7   U.S.C. § 3161(h)(7)(A) and (B) (Local Code T4).
 8                                                 Respectfully submitted,
 9
10
            Dated: August 3, 2012                  /S/LISA B. MEIER
11                                                 LISA B. MEIER
                                                   Attorney for NICHOLAS ROMAN
12
            Dated: April 3, 2012                   DANIEL BRODERICK
13                                                 Federal Defender

14                                                 /S/ LISA MEIER for MICHAEL PETRIK, JR
                                                   MICHAEL PETRIK, JR
15                                                 Assistant Federal Defender
                                                   Attorney for ANTHONY MONTANO
16
            Dated: August 3, 2012                  /S/ LISA MEIER for DAVID DRATMAN
17                                                 DAVID DRATMAN
                                                   Attorney for LONNIE TERRELL
18
            Dated: August 3, 2012                  /s/ LISA B. MEIER for RONALD PETERS
19                                                 RONALD PETERS
                                                   Attorney for ALEX LINDBERG
20
            Dated: August 3, 2012                  /S/ LISA B. MEIER for DANIEL SCHULTZ
21                                                 DANIEL SCHULTZ
                                                   Attorney for JEREMY TERRELL
22
            Dated: August 3, 2012                  /S/LISA MEIER for KELLY BABINEAU
23
                                                   KELLY BABINEAU
24                                                 Attorney for RUTH JIMENEZ

25          Dated: August 3, 2012                  BENJAMIN B. WAGNER
                                                   United States Attorney
26
                                                   /S/ LISA B. MEIER for MICHAEL ANDERSON
27                                                 MICHAEL ANDERSON
                                                   Assistant U.S. Attorney
28



                                                      2
     Case 2:10-cr-00477-MCE Document 159 Filed 08/06/12 Page 3 of 3


 1                                               ORDER
 2          The Court orders the status conference continued to August 28, 2012 at 9:15 a.m. For
 3   the reasons stated above, the Court finds that the ends of justice served by granting the
 4   continuance outweigh the best interest of the public and the defendants in a speedy trial. The
 5   Court orders time excluded from the date of this order through this status conference on August
 6   28, 2012 pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (Local Code T4).
 7          IT IS SO ORDERED.
 8          DATED: August 6, 2012
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                     3
